JS 44 (Rev, 04/21)

CIVIL COVER SHEET

The JS 44 civil cover sheet and the information contained herein neither replace nor supplement the filing and service of pleadings or other papers as required by law, except as
provided by local rules of court. This form, approved by the Judicial Conference of the United States in September 1974, is required for the use of the Clerk of Court for the
purpose of initiating the civil docket sheet. (SHE INSTRUCTIONS ON NEXT PAGE OF THIS FORM)

I. (a) PLAINTIFFS DEFENDANTS
TIKTOK INC. AUSTIN KNUDSEN, Attorney General of Montana

(b) County of Residence of First Listed Plaintiff Los Angeles, CA
(EXCEPT IN US. PLAINTIFF CASES)

County of Residence of First Listed Defendant Lewis and Clark
(IN ULS. PLAINTIFF CANES ONLY)

IN LAND CONDEMNATION CASES, USE THE LOCATION OF
THE TRACT OF LAND INVOLVED.

NOTE:
(c} Attomeys (firm Name, Address, and Telephone Number} Atlomeys (if Known)

See attachment

II. BASIS OF JURISDICTION {Place an “X" in One Box Only} IIE. CITIZENSHIP OF PRINCIPAL PARTIES (Place an 4" in One Box for Plaintify
(For Diversity Cases Only) and One Box for Defendant)
CJ 1 U.S. Government [x]3 Federal Question PTF DEF PTF DEF
Plaintiff (US. Government Not a Party) Citizen of This State oO j oO 1 Incorporated or Principal Place O 4 Oo 4
of Business In This State
(J2 US. Government ()4 Diversity Citizen of Another State (12) [J 2 Incorporated and Principal Place =] 3 ([]5
Defendant (indicate Citizenship of Parties tn item Hi) of Business In Another State
Citizen or Subject of a oO 3 oO 3 Foreign Nation oO 6 Ole
Foreign Country
IV. NATURE OF SUIT ¢tace an “¥” in One Box Only) Click here for: Nature of Suit Code Descriptions.
| CONTRACT TORTS FORFEITURE/PENALTY BANKRUPTCY OTHER STATUTES
110 Insurance PERSONAL INJURY PERSONAL INJURY | ]625 Drug Related Seizure 422 Appeal 28 USC 158 375 False Claims Act
120 Marine 310 Airplane oO 365 Personal Injury - of Property 21 USC 881 423 Withdrawal 376 Qui Tam (31 USC
130 Miller Act 315 Airplane Product Product Liability | ]690 Other 28 USC 157 3729(a)}
140 Negotiable Instrument Liability OC 367 Health Care/ INTELLECTUAL | 400 State Reapportionment
150 Recovery of Overpayment 320 Assault, Libel & Pharmaceutical PROPERTY RIGHTS 410 Antitrust
& Enforcement of Judgment Slander Personal Injury 820 Copyrights 430 Banks and Banking
151 Medicare Act 330 Federal Employers’ Product Liability 830 Patent 450 Commerce
H 152 Recovery of Defaulted Liability O 368 Asbestos Personal ri 835 Patent - Abbreviated 460 Deportation
Student Loans 340 Marine Injury Product New Drug Application 470 Racketeer Influenced and
(Excludes Veterans} 345 Marine Product Liability 840 Trademark Cormupt Organizations
oO 153 Recovery of Overpayment Liability PERSONAL PROPERTY LABOR 880 Defend Trade Secrets | 480 Consumer Credit
of Veteran's Benefits 350 Motor Vehicle 370 Other Fraud 710 Fair Labor Standards Act of 2016 (15 USC 1681 or 1692}
[_] 160 Stockholders” Suits 355 Motor Vehicle H 371 Truth in Lending Act |_] 485 Telephone Consumer
| 190 Other Contract Product Liability oO 380 Other Personal |_}720 Labor/Management SOCIAL SECURITY Protection Act
-| 195 Contract Product Liability 360 Other Personal Property Damage Relations 861 HIA (1395) -| 490 Cable/Sat TV
196 Franchise Injury oO 385 Property Damage i Railway Labor Act 862 Black Lung (923) 850 Securities‘Commodities!
362 Personal Injury - Product Liability 751 Family and Medical 863 DIVC/DEIWW (40516) Exchange
Medical Malpractice Leave Act 864 SSID Title XVI ] 890 Other Statutory Actions

|
1
,

560 Civil Detainee -
Conditions of
Confinement

865 RSI (405(g))

891 Agricultural Acts
893 Environmental Matters

893 Freedom of Information

ITS:
870 Taxes (1,S, Plaintiff

or Defendant)
[} 871 IRS—Third Party
26 USC 7609

REAL PROPERTY. CIVIL RIGHTS P Tilo. 790 Other Labor Litigation
210 Land Condemnation 440 Other Civil Rights Habeas Corpus: 791 Employee Retirement
220 Foreclosure 441 Voting 463 Alien Detainee Income Security Act
230 Rent Lease & Ejectment 442 Employment 510 Motions to Vacate
240 Torts to Land 443 Housing/ Sentence
245 Tort Product Liability Accommodations 530 General
[| 290 All Other Real Property 445 Amer, w/Disabilities + | 535 Death Penalty |____IMMIGRATION__|
Employment Other: 462 Naturalization Application
446 Amer. w/Disabilities - 540 Mandamus & Other 465 Other Immigration
Other 350 Civil Rights Actions
448 Education 555 Prison Condition

Act

896 Arbitration

899 Administrative Procedure
Act/Review or Appeal of
Agency Decision

950 Constitutionality of
State Statutes

H

¥V. ORIGIN (Place an “X" in Que Box Oni)

| Original
x Proceeding

2 Removed from
State Court

oO 3

Remanded from
Appellate Court

of Reinstated or OD 5 Transferred from
Another District

(specify)

Reopened

Transfer

6 Multidistrict
Litigation -

8 Multidistrict
Litigation
Direct File

VI. CAUSE OF ACTION

Cite the U.S. Civil Statute under which you are filing (De set cite jurisdictional statutes unless diversity):
First Amendment, Supremacy Clause, Commerce Clause, and Bil of Attainder Clause of U.S. Constitution

Brief description of cause:
An Act Banning TikTok in Montana (SB 419} violates the First Amendment and Commerce Clause of the U.S, Constitution (among others)

VII. REQUESTED IN CJ CHECK IF THIS IS A CLASS ACTION DEMAND § CHECK YES only if demanded in complaint:
COMPLAINT: UNDER RULE 23, F.R.Cv.P. JURY DEMAND: Lives [X]No
VIII. RELATED CASE(S)
IF ANY (See instructions}:
JUDGE Donald W. Molloy DOCKET NUMBER 38:23-cv-00056
DATE SIGNATURE OF ATTORNEY OF RECORD
May 22, 2023 Y wl z
FOR OFFICE USE ONLY
RECEIPT # AMOUNT APPLYING IFP JUDGE MAG. JUDGE

ATTACHMENT
Plaintiff's Attorneys:

Alexander A. Berengaut*

Megan A. Crowley*

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*pro hac vice application forthcoming

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Nathan D. Bilyeu

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